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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


MALIBU MEDIA, LLC,

               Plaintiff,
                                                            CASE NO.
v.
                                                            HON. ROBERT J. JONKER
JOHN DOE, subscriber assigned
98.224.254.205,

            Defendant.
_____________________________________/

      ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO SERVE THIRD PARTY
                SUBPOENA PRIOR TO RULE 26(f) CONFERENCE

        On **, Malibu Media, LLC (“Plaintiff”) filed a complaint in this Court alleging that an

unnamed defendant (“Defendant John Doe”) had directly infringed Plaintiff’s copyrights. Plaintiff

attempted to ascertain Defendant John Doe’s identity by using a forensics technician to capture

and analyze data from Defendant John Doe’s infringing activity on BitTorrent, a popular online

file transfer protocol. (Decl., docket # **). Those efforts, however, uncovered only an internet

protocol (“IP”) address. Plaintiff now seeks leave to initiate limited discovery to identify

Defendant John Doe. (Mot. for Leave to Serve Third-Party Subpoena (“Mot.”), (docket # **).

Specifically, Plaintiff asks the Court’s permission to serve a Rule 45 subpoena on the internet

service provider (“ISP”) to which the IP address associated with Defendant John Doe’s infringing

activity resolves, and to conduct necessary follow-up discovery.

        Federal Rule of Civil Procedure 26(d) generally prohibits a party from seeking discovery

from any source before the parties’ Rule 26(f) conference. F ED. R. CIV. P. 26(d)(1). However,


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“[f]or good cause, the court may order discovery of any matter relevant to the subject matter

involved in the action.” Id. In this case, Plaintiff has shown good cause for limited, expedited

discovery to uncover Defendant John Doe’s true identity. Without that information, the litigation

cannot proceed, because Plaintiff would be unable to effect service of process upon Defendant

John Doe. Plaintiff has used reasonable efforts to identify Defendant John Doe without early

discovery, but has garnered only an IP address, not a personal identity. A third party subpoena to

the ISP associated with that IP address to provide Plaintiff with Defendant John Doe’s true name,

address, alternate email addresses, and telephone number is limited and reasonably calculated to

uncover the necessary information without imposing an undue burden on t he ISP, and without

unfairly prejudicing Defendant John Doe. The Court will not authorize additional discovery at this

time. If Plaintiff needs more information before Defendant John Doe is actually joined as a party in

his or her true name, Plaintiff will need to file an additional motion.

       Accordingly, IT IS ORDERED that:

       1.      Plaintiff established “good cause” to serve a third-party subpoena on the Internet

               Service Provider (“ISP”) to which the internet protocol (“IP”) address associated

               with Defendant John Doe’s infringing activity resolves.

       2.      Plaintiff may serve the ISP for Defendant John Doe with a Rule 45 subpoena

               commanding the ISP to provide Plaintiff with the true name, address, alternate

               email addresses, and telephone number of Defendant John Doe to whom the ISP

               assigned an IP address. Plaintiff shall attach any such subpoena to a copy of this

               Order of the Court.

       3.      If the ISP qualifies as a “cable operator,” as defined by 47 U.S.C. § 522(5), which


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              states:

              the term “cable operator” means any person or group of persons

                                (A)     who provides cable service over a cable system and
                        directly or through one or more affiliates owns a significant interest
                        in such cable system, or

                                (B)  who otherwise controls or is responsible for, through
                        any arrangement, the management and operation of such cable
                        system,

              it shall comply with 47 U.S.C. § 551(c)(2)(B), which states

                        [a] cable operator may disclose such [personal identifying]
                        information if the disclosure is . . . made pursuant to a court order
                        authorizing such disclosure, if the subscriber is notified of such
                        order by the person whom the order is directed.

              by sending a copy of this Order to Defendant John Doe.

         4.   Plaintiff may only use the information disclosed in response to its Rule 45

              subpoena for the purpose of protecting and enforcing Plaintiff’s rights as set forth

              in its Complaint against Defendant John Doe.

         5.   No other discovery is authorized by this Order.

         IT IS SO ORDERED.



                                                     ROBERT J. JONKER
                                               UNITED STATES DISTRICT JUDGE
Dated:




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